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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

------------------------------------x
STEPHANIE LEIGH WHITAKER, JENNIFER  :
SHAUL, and JANE DOE,                :
                                    :
            Plaintiffs,             :                     Case No. 1:18-cv-00540-WOB
                                    :
                        vs.         :
                                    :                     Judge William O. Bertelsman
JUDGE JOSEPH W. KIRBY,              :
                                    :
            Defendant.              :
------------------------------------x


                        MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Josh Langdon, trial attorney for

Plaintiffs, in the above-referenced action, hereby moves the court to admit Shannon Minter pro

hac vice to appear and participate as counsel or co-counsel in this case for Stephanie Leigh

Whitaker, Jennifer Shaul, and Jane Doe.

       Movant represents that Mr. Minter is a member in good standing of the highest court of

California as attested by the accompanying certificate for that court, and that he is not eligible to

become a member of the permanent bar of this Court. This Motion is accompanied by the required

$200.00 fee.

       Mr. Minter understand that unless expressly excused, he must register for electronic filing

with this Court promptly upon the granting of this Motion.

       Shannon Minter’s relevant identifying information is as follows:

Business telephone:            (415) 392-6257

Business fax:                  (415) 392-8442
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Business Address:          National Center for Lesbian Rights
                           870 Market Street, Suite 370
                           San Francisco, CA 94102

Business e-mail address:   sminter@nclrights.org



                                             /s/ Joshua Langdon
                                             Joshua R. Langdon, Ohio Bar #90956
                                             Josh Langdon, LLC

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                                             Trial Attorney for Plaintiffs
